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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                §
ANTONIO CABALLERO,                              §
                                                §
                     Plaintiff,                 §
                                                §
       v.                                       §     No. 4:21-CV-00913
                                                §
PETRÓLEOS DE VENEZUELA, S.A.,                   §
                                                §
                     Defendant-Respondent.      §
                                                §
     DEFENDANT-RESPONDENT PETRÓLEOS DE VENEZUELA, S.A.’S
    RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION TO REMAND

       Petróleos de Venezuela, S.A. (“PDVSA”), Venezuela’s wholly owned national oil

company, hereby submits its Opposition to Plaintiff Caballero’s Motion to Remand, and

states as follows:

       1.     The Motion to Remand lacks any merit in view of binding Fifth Circuit

precedent that Plaintiff fails to bring to this Court’s attention. See Thompson v. Deutsche

Bank Nat’l Trust Co., 775 F.3d 298 (5th Cir. 2014). Thompson demonstrates that a

judgment, void for lack of jurisdiction due to ineffective service, can always be removed

if a federal basis exists for removal, as is the case here. Id. at 304.

       2.     Specifically, the Fifth Circuit in Thompson affirmed the denial of the

plaintiffs’ motion to remand an action that had reached final judgment in the Texas state

court in circumstances similar to those before this Court. Id. at 303. The Fifth Circuit also

affirmed vacatur of the default judgment as void for lack of jurisdiction under Rule 60(b)(4)

of the Federal Rules of Civil Procedure for insufficient service of process. Id. at 306; see

also Republic of Sudan v. Harrison, 139 S. Ct. 1048 (2019) (overturning default judgment
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years after its entry — in the context of TRIA enforcement proceedings — due to

ineffective service under the Foreign Sovereign Immunities Act); Magness v. Russian

Fed’n, 247 F.3d 609, 619 (5th Cir. 2001) (same).

         3.      In Thompson, the defendant removed the state court action over four months

after the state court had entered a default judgment. Thompson 775 F.3d at 302. The Fifth

Circuit upheld the defendant’s removal where plaintiffs had failed to properly serve

defendant with the complaint and therefore defendant’s time to remove under 28 U.S.C.

§ 1441(b)(1) had not begun to run. Id. at 304.

         4.      Citing U.S. Supreme Court law, the Fifth Circuit made abundantly clear that

“a defendant’s right to removal runs from the date on which it is formally served.” Id. at

302 (citing Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48

(1999)); see also Delgado v. Shell Oil Co., 231 F.3d 165, 177 (5th Cir. 2000) (upholding

removal by a foreign-state third-party defendant who had not yet been served in the state

court action). Thus, the defendant’s removal after it learned of the action was timely and

proper. And, like the case here, there was no dispute in Thompson that the federal court

had original jurisdiction over the action. 775 F.3d at 304.

         5.      The Fifth Circuit in Thompson specifically distinguished Oviedo v.

Hallbauer, 655 F.3d 419 (5th Cir. 2011), the solitary case upon which Plaintiff relies (Mot.

¶ 12).        The Fifth Circuit held that “Oviedo involved significantly different and

consequential facts from those presented” in Thompson because unlike the intervenor in

Oviedo, the defendant in Thompson “neither appeared nor participated in the state court

litigation” because the defendant “was not properly served.” 775 F.3d at 305. The same


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is true here: PDVSA was not properly served and neither “appeared nor participated in the

state court litigation.” Id.

       6.      Indeed, Plaintiff does not (and cannot) dispute that he failed to serve PDVSA

in compliance with § 1608 of the FSIA, 28 U.S.C. § 1608. As set forth in detail in

PDVSA’s Notice of Removal (ECF No. 1, ¶¶ 9-10), as an undisputed agency or

instrumentality of a foreign state, PDVSA must be served in accordance with one of the

exclusive service methods listed in § 1608(b) in a hierarchical order. See Magness, 247

F.3d at 613 (stating that the service provisions under § 1608 “are hierarchical, such that

that a plaintiff must attempt the methods of service in the order they are laid out in the

statute”). Plaintiff attempted none of these methods.

       7.      Instead, Plaintiff mailed the writ of garnishment to an address allegedly

associated with PDVSA in Caracas, Venezuela. See ECF No. 1-2, at 17-18. Despite

mailing being an option of last resort under § 1608(b)(3), Plaintiff’s purported service by

mail is facially deficient, as it reflects no evidence that the service package was dispatched

by the clerk of court, translated into Spanish, or required a signed return receipt. See 28

U.S.C. §§ 1608(b)(1)-(3), 1608(b)(3)(B). Nor was it “reasonably calculated to give actual

notice” to PDVSA, as it was directed to a location where none of PDVSA’s authorized

corporate representatives could be found. Plaintiff also never filed a return of service for

PDVSA, which never received actual notice of this matter. 28 U.S.C. § 1608(c)(2)

(providing that service shall be deemed to have been made “as of the date of receipt

indicated in the certification, signed and returned postal receipt”).

       8.      Having not achieved proper service under the FSIA in the action he seeks to


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remand, Plaintiff understandably does not argue that removal was untimely. Rather, he

argues only that the action must be “pending” to qualify for § 1441(a) removal, but

Thompson dictates that if service was never effected, naturally the action is pending.

       9.     Plaintiff also does not (and cannot) dispute that service of an enforcement

action against a foreign state’s property is required pursuant to the terms of § 1608. Indeed,

the Fifth Circuit has held that the FSIA applies in garnishment proceedings involving

property in which an agency or instrumentality has an interest. Arriba, Ltd. v. Petróleos

Mexicanos, 962 F.2d 528, 532 (5th Cir. 1992) (concluding Arriba had no basis for FSIA

jurisdiction over garnishee state-oil company Pemex where default judgment was not

against Pemex) (quoting Stena Rederi AB v. Comision de Contratos del Comite Ejecutivo

Gen. del Sindicato Revolucionario de Trabajadores Petroleros de la Republica Mexicana,

923 F.2d 380, 393 (5th Cir. 1991) (concluding that “district court’s exercise of quasi in rem

jurisdiction through writ of garnishment against Pemex was erroneous”)). The Fifth

Circuit’s holdings make perfect sense because, under the FSIA, like the foreign sovereign

itself, agencies and instrumentalities and their property are presumptively immune from

the jurisdiction of U.S. courts unless an exception to that immunity applies. See 28 U.S.C.

§§ 1604, 1609. Thus, unless Plaintiff effected proper service under § 1608(b) (he did not)

and established an exception to PDVSA’s and its property’s immunity (he did not), the

state court lacked subject-matter and personal jurisdiction over the action against PDVSA

and PDVSA’s property. PDVSA will brief these, and other defenses, in detail in a motion

to vacate the turnover judgment.

       10.    Plaintiff also does not (and cannot) dispute that, as an agency or


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instrumentality of a foreign state, PDVSA has the right to remove under 28 U.S.C.

§ 1441(a) and (d), given that this Court has original jurisdiction in FSIA actions. 28 U.S.C.

§§ 1330(a), 1331; see also 28 U.S.C. § 1441(d) (permitting enlargement of time for foreign

states to remove cases “at any time for cause shown”); Arriba, Ltd., 962 F.2d at 532

(recognizing right of Mexico’s national oil company to remove garnishment action to

federal court and dismissing action for lack of FSIA jurisdiction); Nat’l Union Fire Ins.

Co. v. People’s Republic of Congo, 2005 U.S. Dist. LEXIS 6206, at *12-13 (N.D. Tex.

Apr. 8, 2005) (denying remand of garnishment action involving final state court judgment

and writs against foreign state’s property); FG Hemisphere Assocs. v. Republique Du

Congo, 2002 U.S. Dist. LEXIS 27760, at *3-4 (S.D. Tex. Nov. 19, 2002) (finding removal

of enforcement action proper and dissolving state court writs for lack of jurisdiction).

       11.    Finally, to the extent that Plaintiff’s word play on § 1441’s use of the word

“pending” has any merit (it does not), Thompson further dispels it. Thompson makes clear

that the state court action was still “pending” upon PDVSA’s removal on March 19, 2021,

because PDVSA had the right to file a restricted appeal under Texas state law within six

months of the entry of the (defective) judgment on January 15, 2021 (Mot. ¶ 6). 775 F.3d

at 305 (finding that defendant who never appeared in removed Texas state court action

“was entitled to file a restricted appeal in the state court within six months of entry of the

judgment”) (citing Tex. R. App. Proc. 30; Tex. R. App. Proc. 26.1(c)).

       12.    In sum, PDVSA timely and properly removed the state court action given

that (i) PDVSA was not served under § 1608(b) of the FSIA, and its time to remove

therefore never began to run, and (ii) there is no question that PDVSA had the right to


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remove the state court action even after entry of judgment where service was ineffective.

      13.    PDVSA expressly preserves its rights, privileges, immunities, and other

defenses including under the FSIA and the U.S. Constitution, which it intends to raise in

its motion to vacate the turnover judgment.

                                    CONCLUSION

      For the foregoing reasons, PDVSA respectfully requests that the Court deny

Plaintiff’s Motion to Remand.

 Dated: May 7, 2021                               Respectfully submitted,



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                            CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing document was served through

the Court’s electronic filing system and on the following parties and counsel of record, on

May 7, 2021, via email at the following addresses:


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                                                     /s/ Michael Rodgers
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                          CERTIFICATE OF WORD COUNT

       I hereby certify that this document contains 1456 words, excluding case caption,

table of contents, table of authorities, signature block, and certificates.

                                                           /s/ Michael Rodgers
